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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

SHANE C. BUCZEK,

                  Petitioner,
     -vs-                                    Nos. 10-CV-0382(MAT),
                                             10-CV-0383(MAT), &
                                             10-CV-0384(MAT)
CONSTRUCTIVE STATUTORY TRUST
DEPOSITORY TRUST CORPORATION                 DECISION AND ORDER
DONALD F. DONAHUE
UNITED STATES MARSHALS
JOHN CLARK and BRYAN MATTEWS
UNITED STATES PROBATION
JOSEPH GIACOBBE
UNITED STATES OF AMERICA
ERIC H. HOLDER
BEHAVIORAL INTERVENTIONS
B.I. WILLIAM COOPER CFO,

               Respondents.
_____________________________________

I.   Background

     Pro se petitioner Shane C. Buczek (“Buczek” or “Petitioner”)

filed an application styled as a petition for habeas relief under

28 U.S.C. § 2241 in each of the above-captioned proceedings,

challenging the constitutionality of his custody as the result of

various convictions entered against him in the Western District of

New York (Skretny, J.). After converting Buczek’s applications into

motions to vacate pursuant to 28 U.S.C. § 2255, the Court granted

the Government’s motions to dismiss the petitions with prejudice.

After judgment was entered in each matter, Buczek then filed a

pleading captioned as a “Motion For Reconsideration” pursuant to

Federal Rule of Civil Procedure (“F.R.C.P.”) 60(b)(6) in all three

cases. This Court denied all of the motions for reconsideration

with prejudice on October 24, 2011.
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      On October 20, 2011, Buczek filed notices of appeal in each

case. Buczek then filed, in all three cases, an undated pleading

captioned as “Motion for Judicial Notice.” These were received by

the Court on December 22, 2011. Although Buczek has not cited any

legal or   statutory    authority   for   his motions,    the   Court   has

construed them as motions pursuant to F.R.C.P. 60(b) for relief

from judgment. See Cureaux v. Sawyer, 93-CR-409, CIV.A.03-1048,

2004 WL 902170 (E.D. La. Apr. 23, 2004) (construing “motion to take

judicial notice” as a motion pursuant to F.R.C.P. 60(b), aff’d, 124

Fed. Appx. 826 (5th Cir. Feb. 17, 2005, cert. denied, 545 U.S. 1134

(2005). The Court cannot construe the Motions for Judicial Notice

as motions to amend or alter the judgment pursuant to F.R.C.P. 59

because they were filed past the twenty-eight (28) time-limit for

filing such   motions. FED. R. CIV. P. 59(e).

      The Motions for Judicial Notice filed in the three cases are

identical. In the interest of judicial economy, the Court has

consolidated them for disposition.

      For the reasons that follow, relief from judgment is not

warranted, and all three motions are denied with prejudice.

II.   Jurisdiction

      The Court first must address whether it retains jurisdiction

over Petitioner’s Motions for Judicial Notice, since Petitioner has

filed Notices of Appeal to the United States Court of Appeals for

the Second Circuit. “The filing of a notice of appeal is an event

of jurisdictional significance—it confers jurisdiction on the court

of appeals and divests the district court of its control over those

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aspects of the case involved in the appeal.” Griggs v. Provident

Consumer Discount      Co.,    459   U.S.    56,   58   (1982)       (per curiam),

superseded on other grounds by FED. R. APP. P. 4(a)(4)(B); see also

Motorola Credit Corp. v. Uzan, 388 F.3d 39, 53 (2d Cir. 2004). The

Second Circuit has noted that

     [w]hile the federal rules do permit the district court to
     relieve a party or a party’s legal representative from a
     final judgment, see Fed. R. Civ. P. 60(b), this circuit
     has repeatedly held that the docketing of a notice of
     appeal ousts the district court of jurisdiction except
     insofar as it is reserved to it explicitly by statute or
     rule.


Toliver v. County of Sullivan, 957 F.2d 47, 49 (2d Cir. 1992)

(internal quotation marks omitted).

     The Second Circuit also has explained that even after a notice

of appeal is filed,    “the district court can entertain and deny [a]

rule 60(b) motion[.]” Id. In addition, “the district court may

grant a rule 60(b) motion after an appeal is taken only if the

moving party obtains permission from the circuit court.” Id. “In

other words, before the district court may grant a rule 60(b)

motion, [the Second Circuit] must first give its consent so it can

remand the case, thereby returning jurisdiction over the case to

the district court.” Id. This Court’s understanding of the quoted

language is that can review Buczek’s Motions for Judicial Notice,

and if the Court were inclined to deny the motions, it could do so

without   the   Second        Circuit’s      consent.    E.g.,        Call   Center

Technologies,   Inc.     v.    Grand    Adventures      Tour     &    Travel,   No.

3:03CV01036(DJS), 2009 WL 1588438, at *2 (D. Conn. 2009). On the



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other hand, if the Court were inclined to grant Buczek’s motions,

it could not do so without the Second Circuit’s consent, i.e.,

without the Second Circuit remanding the cases to this Court to

rule on the motions. Id. Here, the Court is not inclined to grant

Buczek’s motions, and there is no basis to seek a remand from the

Second Circuit.

     As noted above, the Court has necessarily construed Buczek’s

motions as seeking relief from judgment under F.R.C.P. 60(b) which

provides that the district court may relieve a party from a final

judgment for the following reasons: (1) mistake, inadvertence,

surprise, or excusable neglect; (2) newly discovered evidence which

by due diligence could not have been discovered in time to move for

a new trial under F.R.C.P. 59(b); (3) fraud, misrepresentation, or

other misconduct of an adverse party; (4) the judgment is void;

(5) the judgment has been satisfied, released, or discharged, or a

prior   judgment   upon   which   it    is   based   has   been    reversed   or

otherwise vacated, or it is no longer equitable that the judgment

should have prospective application; or (6) “any other reason

justifying relief from the operation of the judgment.” FED. R. CIV.

P. 60(b). According to the Second Circuit, F.R.C.P. Rule 60(b)

provides “extraordinary judicial relief” which can be granted “only

upon a showing of exceptional circumstances.” Nemaizer v. Baker,

793 F.2d 58, 61 (2d Cir. 1986); accord, e.g., Matarese v. LeFevre,

801 F.2d 98, 106 (2d Cir. 1986), cert. denied, 480 U.S. 908 (1987).

     Generally,     for   an   F.R.C.P.      60(b)   motion   to   prevail,   a

three-part test must be met. First, there must be highly convincing


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evidence supporting the motion. Second, the moving party must show

good cause for failing to act sooner. Third, the moving party must

show that granting the motion will not impose an undue hardship on

the other party. Kotlicky v. United States Fidelity & Guar. Co.,

817 F.2d 6, 9 (2d Cir. 1987). “The burden of proof is on the party

seeking relief from judgment[.]” United States v. International

Bhd. of Teamsters, 247 F.3d 370, 391 (2d Cir. 2001).

     Buczek is asking the Court to take so-called “judicial notice”

of A.U.S.A. Anthony Bruce’s prosecutorial misconduct and vindictive

prosecution of him, as well as the alleged invalidity of the

criminal statutes under which he was convicted. These are nothing

but attempts to reargue claims decided adversely to Buczek by this

Court and by other judges in this Court in his multitudinous prior

filings in this and other cases. Buczek has not shouldered his

burden of satisfying any one of F.R.C.P. 60(b)’s six grounds for

relief. See Van Skiver v. United States, 952 F.2d 1241, 1243-44

(10th Cir. 1991) (“Relief under Rule 60(b) is discretionary and is

warranted only in exceptional circumstances. A litigant shows

exceptional circumstances by satisfying one or more of Rule 60(b)’s

six grounds for relief from judgment.”) (internal citation omitted;

footnote omitted). Therefore, the Court finds no basis on which

grant relief under F.R.C.P. 60(b).

III. Conclusion

     For the reasons discussed above, Petitioner’s “Motions for

Judicial Notice” (Dkt. #36 in 1:10-CV-0382(MAT), Dkt. #35 in 1:10-

CV-0383(MAT), & Dkt. #36 in 1:10-CV-0384(MAT)) are denied with

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prejudice. Petitioner has failed to make a substantial showing of

the   denial    of   a   constitutional    right,   and   a   certificate   of

appealability shall not issue. 28 U.S.C. § 2253(c)(2). The Court

certifies, pursuant to 28 U.S.C. § 1915(a)(3) and Fed. R. App. P.

24(a)(3), that any appeal from this Decision and Order would not be

taken in good faith and therefore the Court denies leave to appeal

as a poor person from this Decision and Order. Coppedge v. United

States, 369 U.S. 438 (1962).

      SO ORDERED.



                                            S/Michael A. Telesca
                                    ___________________________________
                                        HONORABLE MICHAEL A. TELESCA
                                        United States District Judge
DATED:       Rochester, New York
             May 30, 2012




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